Case 1:23-mj-00021-ZMF Document9 Filed 02/02/23 Page 1 of 1

UNITED STATES DISTRICT COURT
THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA CASE NO. 1:23-mj-00021-ZMF
Vv.
AUSTIN BRENDLEN HARRIS

Defendant.
/

 

NOTICE OF APPEARANCE

PLEASE TAKE NOTICE that CONNOR MARTIN, ESQ., hereby enters this
Notice of Appearance on behalf of the Defendant, AUSTIN BRENDLAN HARRIS, in

the above-styled cause as trial counsel.

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on February 2, 2023, a true and correct copy of the
foregoing was furnished by using the CM/ECF system with the Clerk of the Court, which
will send notice of the electronic filing to all interested parties, including the Office of the

United States Attorney.

Respectfully submitted,

Suarez, Rios & Weinberg, P.A.
Attorney for Defendant

265 E Marion Ave., Ste 114
Punta Gorda, FL 33950
Telephone: (941) 575-8000
Facsimile: (941) 575-8888
E-mail: Scott@bsrlegal.com

By__/s/ Connor Martin
Connor Martin
Fla. Bar No. 1031925
